
201 Md. 647 (1952)
92 A.2d 449
CARROLL
v.
WARDEN OF MARYLAND PENITENTIARY
[H.C. No. 14, October Term, 1953.]
Court of Appeals of Maryland.
Decided November 11, 1952.
Before MARKELL, C.J., and DELAPLAINE, COLLINS and HENDERSON, JJ.
MARKELL, C.J., delivered the opinion of the Court.
This is an application for leave to appeal from denial of a writ of habeas corpus. Petitioner is imprisoned under sentence for 20 years on conviction of assault with intent to rape. The alleged offense was committed at or near a prison camp near Elkton of which petitioner was a member. At the time he was under a *648 sentence of 4 years which has since expired. He alleges that he was not guilty and (with great detail) that the evidence so indicates. He alleges that he was "denied" "taking the stand" by his court-appointed counsel, but not that he made any complaint to the court concerning this advice or "denial". It appears that he has made repeated applications for habeas corpus on the same grounds, all of which applications have been denied. Habeas corpus cannot be made to serve the purpose of an appeal or a new trial of the question of guilt or innocence.
Application denied, with costs.
